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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
MIDLAND-ODESSA DIVISION

UNITED STATES OF AMERICA, §

Plaintiff, :
vs. : CASE NO. 7:18-CR-00037-DC
ANGELA WILLIAMS :

Defendant :

MOTION TO SUPPRESS UNLAWFUL STOP, DETENTION AND ARREST

 

TO THE HONORABLE JUDGE OF SAID COURT:
COMES NOW the Defendant, ANGELA WILLIAMS, by and through her attorney of
record, Thomas S. Morgan, and files this Motion To Suppress Unlawful Stop, Detention and

Arrest, and as grounds for such Motion would respectfully show this Honorable Court as follows:

1. The police officer who stopped the Defendant’s motor vehicle did not have probable

cause, nor reasonable suspicion based on specific, articulable facts, in the first place, since the

_. Defendant.had not committed a traffic violation, 00.00 2 0. eee

2. Thus, the stop of the vehicle was unlawful under the Fourth Amendment, and the detention
and arrest of the Defendant also violated the Fourth Amendment, and the seizure of alleged
contraband constitutes fruit of the poisonous tree and should be suppressed under the Fourth

Amendment.
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WHEREFORE, the Defendant, ANGELA WILLIAMS, prays that all items seized from the
Defendant as a result of an unlawful search, in all things, be suppressed. The Defendant further

prays for any and all other relief to which he may be justly entitled.

Thomas S. Morgan

ATTORNEY AT LAW

1902 W. ILLINOIS

MIDLAND, TEXAS 79701

(432) 683-2703

(432) 684-7314 (FAX)

STATE BAR LD. NO. 24051084
ATTORNEY FOR DEFENDANT

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CERTIFICATE OF SERVICE
I, Thomas S. Morgan, hereby certify that on the 4" day of April, 2018, a true and correct copy
of the foregoing Defendant’s Motion To Suppress Unlawful Stop, Detention and Arrest was

delivered by facsimile to the United States Attorney, Austin Berry, facsimile number 686-4131.

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Thomas S. Morgan (

 
